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                        EXHIBIT 52
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        IN THE COURT OF APPEALS OF THE STATE OF OREGON

                                ARNAUD PARIS,
                               Petitioner-Appellant,
                                        and

                            HEIDI MARIE BROWN,
                            Respondent-Respopdent.

                     Jackson County Circuit No. 23'DR08269

                                     A182305

                             OBJECTION TO MOET

      Respondent Brown objects to the time extension appellant has requested

for filing the transcript. Appellant has asked the court for a 122-day extension,

claiming that "this case may settle in mediation'' and that there is presently a

"dialogue between Appellant and Respondent and the French lawyers.""

Respondent does not believe there is any possibility-of this case settling (last

July, respondent absconded with the children to France, in violation ofthe

circuit court's -order, and he has thus far refused to return.). She is also unaware

of any dialog between the parties or the attorneys for the parties, including the

parties' French lawyers. She believes that respondent is merely seeking to delay

the conclu:sion-0f the parties'" litigation. This court should not support the delay.

      I certify that I filed this notice on January   /£ , 2024. That same day I
sent a copy by first-class mail to: Arnaud Paris, 13 rue Ferdinand Duval, Paris,

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France 75004. I also sent a copy to aparis@sysmicfilms.com and




                                           S/George W. Kelly
                                           George w~ Kelly (822980)
                                           Attorney for Heidi Brown




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